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EXHIBIT 8 - FIRST AMENDED   Amended Disclosure Statement Pg 1 of 20
DISCLOSURE STATEMENT (DKT. 116)



                                UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF TEXAS
                                        EL PASO DIVISION

       IN RE:                                          §
                                                       §     Case No. 21-30107
       PDG PRESTIGE INC.                               §     (Chapter 11)
             Debtor.                                   §

            FIRST AMENDED DISCLOSURE STATEMENT IN SUPPORT OF FIRST
            AMENDED PLAN OF REORGANIZATION OF PDG PRESTIGE INC. DATED
            January 17, 2022


        THIS DISCLOSURE STATEMENT IS SUBJECT TO APPROVAL OF THE BANKRUPTCY COURT

                        SUMMARY OF IMPORTANT DATES AND DEADLINES

     Deadline to file objections Plan of                   SEE ORDER SETTING DEADLINES
     Reorganization (the "Objection Deadline"):

     Deadline to submit ballot regarding the Plan of       SEE ORDER SETTING DEADLINES
     Reorganization (the "Ballot Deadline"):

     Hearing to consider Plan of Reorganization (the       SEE ORDER SETTING DEADLINES
     “Confirmation Hearing”):

     Location of Confirmation Hearing:                     United States Bankruptcy Court
                                                           511 E San Antonio Ave
                                                           El Paso, TX 79901
                                                           SEE ACCOMPANYING NOTICE OF
                                                           HEARING FOR CURRENT APPEARANCE
                                                           PROTOCOALS


     1. INTRODUCTION.

     1.1.   Form Explanation; Defined Terms. For convenience, this disclosure statement is based upon
            the prior official small business form, Form B25B. However, this is not a "small business case"
            as defined under Code §•101. Controlling definitions and rules of construction appear in
            Section 9 of the Plan.

     1.2.   Overview. This is the ]bl\ehlnk^ lmZm^f^gm (ma^ x@bl\ehlnk^ OmZm^f^gmy) bg ma^ Chapter 11 case
            of PDG Prestige Inc., a Texas corporation that is the Debtor and Debtor in Possession (xPDGPy
            or the x@^[mhky) bg ma^ Z[ho^-captioned bankrupt\r \Zl^ (ma^ x>Zgdknim\r ?Zl^y), This
            Disclosure Statement contains information about PDGP and describes and provides information
            in connection with the proposed First Amended Plan of Reorganization of PDG Prestige, Inc.
            Dated January 17, 2022 (ma^ xLeZgy) _be^] [r PDGP on January 17, 2022 and that accompanies
            this Disclosure Statement. YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ
            THE PLAN AND THIS DISCLOSURE STATEMENT CAREFULLY AND DISCUSS THEM



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       WITH YOUR ATTORNEY. IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY WISH TO
       CONSULT ONE.

1.3.   Proposed Distribution to General Unsecured Creditors. The proposed distributions under the
       Plan and the material terms of the Plan, including the estimated distribution to unsecured
       creditors is set forth in TABLE 1wKey Plan Terms, Section 2 of the accompanying Plan
       ("TABLE 1"). Secured claims will be paid in full according to the claim(s) filed or pursuant to
       the agreement of the parties. General unsecured creditors (other than the Westar Litigation
       Parties) will receive payment in full to the extent of their allowed claims.

1.4.   Purposes of Disclosure Statement — Adequate Information. The purpose of this Disclosure
       Statement is to provide adequate information within the meaning of Section 1125 of Title 11 of
       ma^ Qgbm^] OmZm^l ?h]^* // Q,O,?, t/./ ^m l^j, (ma^ x?h]^y hk x// Q,O,?, [section number]y).
       Accordingly, this Disclosure Statement among other things describes the following.

       1.4.1.      The Debtor and significant events during the bankruptcy case.

       1.4.2.      How the Plan proposes to treat claims or equity interests of the type you hold (i.e.,
                   what you will receive on your claim or equity interest if the Plan is confirmed).

       1.4.3.      Who can vote on or object to the Plan.

       1.4.4.      SaZm _Z\mhkl ma^ >Zgdknim\r ?hnkm (ma^ x?hnkmy) pbee \hglb]^k pa^g ]^\b]bg`
                   whether to confirm the Plan.

       1.4.5.      Why PDGP believes the Plan is feasible, and how the treatment of your claim or
                   equity interest under the Plan compares to what you would receive on your claim or
                   equity interest in liquidation.

       1.4.6.      The effect of confirmation of the Plan.

       1.4.7.      PLEASE READ THE PLAN AS WELL AS THE DISCLOSURE
                   STATEMENT. THIS DISCLOSURE STATEMENT DESCRIBES THE PLAN,
                   BUT IT IS THE PLAN ITSELF THAT WILL, IF CONFIRMED, ESTABLISH
                   YOUR RIGHTS.

2. IMPORTANT DATES AND DEADLINES.

2.1.   Approval of Disclosure Statement. The Court has not yet confirmed the Plan. This section
       describes the procedures pursuant to which the Plan will or will not be confirmed.

2.2.   Time and Place of the Hearing to Finally Approve This Disclosure Statement and Confirm
       the Plan. The hearing at which the Court will determine whether to finally approve this
       Disclosure Statement and confirm the Plan will take place at the date. time, and Location of the
       Confirmation Hearing shown on Page 1 above.

2.3.   Deadline For Voting to Accept or Reject the Plan: If you are entitled to vote to accept or
       reject the plan, vote on the enclosed ballot and return the ballot in the enclosed envelope to Jeff
       Carruth, Weycer, Kaplan, Pulaski & Zuber, P.C., 3030 Matlock Road, Suite 201, Arlington,
       Texas 76015, (713) 341-1158, facsimile (866) 666-5322, jcarruth@wkpz.com. See Section 9.3
       below for a discussion of voting eligibility requirements. Ballots may be delivered by mail, fax,


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          or email. Your ballot must be received by the Ballot Deadline shown on Page 1 above, or it
          will not be counted.

2.4.      Deadline For Objecting to the Adequacy of Disclosure and Confirmation of the Plan:
          Objections to this Disclosure Statement or to the confirmation of the Plan must be filed with the
          Court and served upon parties entitled to receive notice by the Objection Deadline shown on
          Page 1 above.

3. BACKGROUND OF THE DEBTOR.

3.1.      Description and History of the Debtor’s Business. PDGP owns and is the developer of a ±3.29
          acre tract of real property in Las Cruces, Dona Ana County, New Mexico and sometimes referred
          to as Mesilla Valley Mall Subdivision, Replat No. 5 (ma^ xSubject Propertyy), The Subject
          Property is divided into two lots, Lot 3A and Lot 1A, as depicted in Exhibit PDG306 (with Lot
          2A being a different tract of property under different ownership on the same block).

3.2.      PDGP also owns the majority of the equity interest in a second real estate development entity,
          The Gateway Ventures, LLC, which is the subject of a separate bankruptcy case currently
          i^g]bg` bg mabl ?hnkm, Pa^ A__^\mbo^ @Zm^ h_ PCRzl \hg_bkf^] ieZg (ma^ xTGV Plany) was
          October 18, 2021, and PDGP retains all of its equity interest in TGV under such plan.1 As of the
          filing of this Disclosure Statement, the amount and/or timing of any net distribution from TGV to
          PDGP is uncertain as to amount and/or timing, and the Debtor does not anticipate a final
          resolution of the Legalist loan against the TGV property in time to materially benefit the funding
          of this Plan. Conversely, should TGV realize any profits from TGV, then those proceeds would
          be available to assist with the funding of this Plan.

3.3.      Value of the Debtor’s Property and Lien Claims. The Debtor believes that the Subject
          Property as of the Petition Date possessed a stabilized value of $4,700,000. Certain investment
          fund(s) for which Legalist DIP GP, LLC serves as general partner (\hee^\mbo^er* xLegalisty) holds
          a first consensual lien against the subject property in the amount of original principal amount of
          $4,700,000 under the DIP Credit Agreement approved by an order (Docket No. 53) entered on
          April 9, 2021 (ma^ x@EL Kk]^ky). The claim of Legalist is an allowed secured claim pursuant to
          the DIP Order. The Maturity Date of the Legalist facility is on or about January 9, 2022 under
          the formula in the DIP Credit Agreement, which Maturity Date has been extended for 90 days
          through and until April 9, 2022.

3.4.      Insiders of PDGP.

          3.4.1.       Management of PDGP Before the Bankruptcy Case. Michael Dixson, President
                       managed PDGP at all relevant times prior to this Bankruptcy Case.

          3.4.2.       Management of PDGP During the Bankruptcy Case. PDG Prestige, Inc. (Michael
                       Dixson, President) has managed PDGP at all times during this Bankruptcy Case.

          3.4.3.       Management of the Debtor After the Bankruptcy Case. After the Effective Date of
                       the order confirming the Plan, Michael Dixson, President shall continue to manage
                       PDGP.




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    Case No. 21-30071, In re The Gateway Ventures, LLC.

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3.5.     Significant events before and during the Chapter 11 case.

         3.5.1.      Events Leading to Chapter 11 Filing. This Chapter 11 case was commenced by a
                     voluntary petition filed on February 15, 2021 (the "Petition Date") in order to stop the
                     foreclosure of the Subject Property by CityBank of Lubbock, Texas. Previous efforts
                     to develop and/or sell the Subject Property were thwarted in 2019-2020 prior to the
                     Petition Date as a result of various litigation and /or notices of lis pendens asserted by
                     Thomas Springer and/or related entities and Dennis Crimmins and/or related entities.

         3.5.2.      Events during and information relating to this Bankruptcy Case: The entirety of the
                     events that have occurred during this Chapter 11 case may be found on docket sheet
                     of this case available at the Court or through the PACER website of the Court,
                     https://ecf.txwb.uscourts.gov/. A portion of the Docket showing significant events of
                     this case is attached hereto as Exhibit PDGP301.2 Any of the documents on file in
                     this case may be obtained by contacting the undersigned law firm or are available at
                     the following shared folder link shown in the footnote below and selecting the folder
                     for this case.3

                     Crimmins Adversary. On April 21, 2021, Dennis Crimmins removed to this Court
                     Case No. D-307-CV-2020-01698, Dennis Crimmins, Plaintiff v. Michael J. Dixson,
                     PDG, Inc., and PDG Prestige, Inc., Defendants from the Third Judicial District Court
                     of the County of Dona Ana, New Mexico (ma^ xCrimmins Lawsuity). As of
                     November 3, 2021, this litigation is still pending under Adversary No. 21-03007.

                     Dennis Crimmins also has filed a void, voidable, and/or disputed notice of lis
                     pendens (ma^ xCrimmins Lis Pendensy). On November 18, 2021, the Court entered
                     judgment in favor of PDGP and voided the Crimmins Lis Pendens as a final
                     disposition of the Crimmins Lawsuit.

                     DIP Financing. By an order (Docket No. 53) entered on April 9, 2021, PDGP
                     obtained debtor in possession financing from Legalist. The loan was in the original
                     principal amount of $4,700,000, and a substantial portion of the proceeds were used
                     to pay off the claim of CityBank.

                     Westar Litigation. PDG Prestige also was a party to certain pre-petition litigation
                     brought by Westar Investors Group LLC against The Gateway Ventures, LLC et al.,
                     which litigation was removed to Case No. 21-30071, and which litigation ultimately
                     was resolved by the TGV Plan.

                     Bubba’s Lease and Sale of Lot 1A. On or about November 8, 2019, the Debtor
                     originally entered into a ground lease with Strategic Restaurant Concepts, LLC
                     (>n[[Zzl 11) (ma^ xTR-Leasey) with respect to Lot 1A, which lease was not in effect
                     as of the Petition Date but which since has revived following the Petition Date. On
                     or about December 20, 2021 the Debtor entered into a Purchase and Sale Agreement
                     with The Paul Rothbard Revocable Living Trust Dated August 23, 2006, as Amended
                     and/or Assigns for the sale of Lot 1A and the assignment of the TR-Lease for a


2
  The Debtor is consecutively numbering all exhibits throughout this case. The exhibits related to the plan and
disclosure statement will being with the number 300 beginning with the ballot exhibit to distinguish from previous
exhibits used in this case.
3
  https://drive.google.com/drive/folders/12y_awWL_736_SL3LVx812FBBQsFzl5Pj?usp=sharing

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                      purchase price in the amount of $2,615,000.00. Closing is expected to occur before
                      March 31, 2022. NMREA/Colliers (see Section 5 below) holds a contingent lien
                      with respect to the TR-Lease and thus will be paid approximately $48,000 at closing.
                      PDGP estimates that cash in the approximate amounts of $2,000,000 to $1,800,000
                      will result from this sale for use with respect to the Plan.

                      Additional Leases and NMREA/Colliers. Prior to the Petition Date, the Debtor had
                      executed leases with the various parties to lease space on improvements to be
                      constructed by PDGP on Lot 3A:4 =li^g @^gmZe* VZe^zl* Oe^^i Jnf[^k* Zg] ?a^[Z
                      Hut (\hee^\mbo^er* ma^ xVarious Leasesy). The Various Leases are the basis of the
                      contingent remaining liens of NMREA/Colliers (see Section 5 below).5               The
                      possibility exists that PDGP could revive and perform the Various Leases following
                      the Effective Date upon the construction of improvements upon the Subject Property,
                      in which event NMREA/Colliers would assert a right to payment based upon the
                      previously filed liens. Conversely, if other tenants are found for the Lot 3A, then the
                      contingency with respect to NMREA/Colliers would be extinguished.

                      PDGP paid NMREA/Colliers $168,862.00 of earned and payable commissions as
                      part of the DIP Financing. The order approving the Legalist DIP facility provide that
                      the Debtor would escrow $184,000 to reduce contingent lien obligations of
                      NMREA/Colliers when the balance of the commissions began earned and payable.
                      The Debtor was unable to fund the $184,000 escrow, and thus any contingent claims
                      of NMREA/Colliers which become due and/or payable would

                      3.5.2.1.     Projected Recovery of Avoidable Transfers and other claims and causes
                      of action of the estate. Excluding any objections to claims and any related set offs,
                      PDGP does not believe that it is necessary to rely upon litigation to fund the
                      obligations of the Plan and thus does not intend to prosecute any other avoidance
                      actions or any other lawsuits under Code §§544, 547, 548, 549, and/or 550
                      (\hee^\mbo^er* ma^ x?aZim^k 3 ?eZbfly), Nonetheless, PDGP expressly reserves and
                      retains for the benefit of the estate and/or the Reorganized Debtor any and all
                      facts, claims, causes of action, issues, rights, remedies, and/or defenses related to
                      any Chapter 5 claims.

                      3.5.2.2.     PDGP also expressly reserves and retains for the benefit of the estate
                      and/or the Reorganized Debtor any and all facts, claims, causes of action, issues,
                      rights, remedies, and/or defenses that are asserted or that may be asserted in the
                      Crimmins Adversary against Dennis Crimmins and any person, entity, or insider of
                      Dennis Crimmins in relation to any and all claims and/or causes of action of PDGP
                      relating to the Crimmins Lis Pendens, including but not limited to slander and/or
                      impairment of title, consequential damages, and any penalties or damages under
                      applicable New Mexico law or other applicable law.

                      3.5.2.3.    PDGP also expressly reserves and retains for the benefit of the estate
                      and/or the Reorganized Debtor any and all facts, claims, causes of action, issues,
                      rights, remedies, and/or defenses against New Mexico Real Estate Advisors, Inc.

4
 In terms of Code §365 issues, the leases were not performing by the parties as of the Petition Date, and as a purely
contractual matter PDPG believes that revival of the leases would constitute a post-Petition Date and post-Effective
Date transaction.
5



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                   d/b/a Colliers International, including but not limited to claims for breach of contract
                   and/or one or more intentional tort claims.

                   3.5.2.4.    Otherwise, PDGP may provide notice of additional claims and/or
                   causes of action by a supplement to the Disclosure Statement and/or Plan to be
                   filed within ten (10) days of the Confirmation Hearing.

       3.5.3.      Objections to Claims. Except to the extent that a claim is already allowed pursuant to
                   a final non-appealable order, PDGP reserves the right to object to claims (including
                   scheduled claims) through and until and even after the Effective Date. Therefore,
                   even if your claim is allowed for voting purposes, you may not be entitled to a
                   distribution if an objection to your claim is later upheld.

4. CURRENT AND HISTORICAL FINANCIAL CONDITIONS.

4.1.   The identity and initial stabilized oZen^ h_ ma^ ^lmZm^zl Zll^ml Zk^ described in Schedule A-B
       (Docket No. 24) and/or as may be amended, and as previously filed by the Debtor, a copy and/or
       summary of which is attached as Exhibit PDGP302. As of the date of this Disclosure Statement,
       the Debtor has not sold any portion(s) of the Subject Property, although some of the Subject
       Property is under contract as referenced and described above.

4.2.   The most recent operating report of the Debtor is available on PACER, the Google drive link
       described above, and/or or by contacting the undersigned.

5. SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF CLAIMS
   AND EQUITY INTERESTS.

5.1.   What is the Purpose of the Plan of Reorganization? As required by the Code, the Plan places
       claims and equity interests in various classes and describes the treatment each class will receive.
       The Plan also states whether each class of claims or equity interests is impaired or unimpaired. If
       the Plan is confirmed, your recovery will be limited to the amount provided by the Plan.

5.2.   Schedule showing classification claims. A schedule showing the classification and summary of
       the treatment of all known claims appears in TABLE 1.

5.3.   Treatment of Claims and Equity Interests. The treatment of Claims and Equity Interests under
       the Plan is set forth in TABLE 1, Section 2, and Sections 4-5 of the Plan.

5.4.   All claims subject to potential objection. Each of the claims reference and described in the
       categories and/or classes below does not indicate that any particular claim will be allowed or not
       be the subject of an objection. Moreover, the described treatment of any such category and/or
       class of claims does not indicate that that any particular claim will be allowed or not the subject
       of an objection.

6.     MEANS OF IMPLEMENTING THE PLAN.

6.1.   Sale Motion. To the extent necessary, this Plan also constitutes a sale motion under Code
       §363(f) to sell Lot 1A free and clear and all liens, claims, and encumbrances as described below,
       with the proceeds of such sale being used to fund the Plan as described herein.




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       As also described in Disclosure Statement §3.5.2, on or about November 8, 2019, the Debtor
       hkb`bgZeer ^gm^k^] bgmh Z `khng] e^Zl^ pbma OmkZm^`b\ N^lmZnkZgm ?hg\^iml* HH? (>n[[Zzl 11) (ma^
       xPN-H^Zl^y) pbma k^li^\m mh Hhm /=* pab\a e^Zl^ pZl ghm bg ^__^\m Zs of the Petition Date but
       which since has revived following the Petition Date. On or about December 20, 2021 the Debtor
       entered into a Purchase and Sale Agreement with The Paul Rothbard Revocable Living Trust
       Dated August 23, 2006, as Amended and/or Assigns for the sale of Lot 1A and the assignment of
       the TR-Lease for a purchase price in the amount of $2,615,000.00.

6.2.   Source of Payments. Payments and distributions under the Plan will be funded by the continued
       development, refinance, and/or sale of the Subject Property.

       As discussed above, the Debtor believes that the sale of Lot 1A will result in cash of
       approximately $1,800,000 to $2,000,000 to fund the Plan, almost all of which will go to reduce
       the claim of Legalist.

       PDGP believes that the Various Leases will be revived following the Effective Date, and upon
       such revival will permit a sale of Lot 3A and/or refinancing of the remaining indebtedness
       following the sale of Lot 1A.

       PDGP is also seeking exit financing from a more traditional asset-based and/or real estate lenders
       which financing would be used to reduce the remaining balance of the Legalist debt and to pay an
       additional costs of development. If the exit financing is achieved prior to the Confirmation
       Hearing, the Plan may be amended and/or modified to address the exit financing.t

6.3.   Post-confirmation Management. The Post-Confirmation Manager of the Debtor, and their
       compensation, shall be as follows. Michael Dixson, President, base fee of $200,000 per year, if
       funds are available and subordinated to all Plan payments.

6.4.   Risk Factors. The proposed Plan has the following risks: The Debtor potentially will be unable
       to complete the sale(s) and/or refinancing of the Subject Property in accordance with the
       development plan. The Debtor potentially will not generate sufficient cash flow to service the
       debts to be paid over time under the Plan. The general economic uncertainty associated with the
       remaining effects of the COVID-19 pandemic provides substantial additional risk.

7. EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

7.1.   The Plan (and TABLE 1) lists all executory contracts and unexpired leases that the Debtor will
       assume under the Plan. Assumption means that the Debtor has elected to continue to perform the
       obligations under such contracts and unexpired leases, and to cure defaults of the type that must
       be cured under the Code, if any. The Plan also lists how the Debtor will cure and compensate the
       other party to such contract or lease for any such defaults.

7.2.   If you object to the assumption of your unexpired lease or executory contract, the proposed cure
       of any defaults, or the adequacy of assurance of performance, you must file and serve your
       objection to the Plan by the Objection Deadline.

7.3.   All executory contracts and unexpired leases that are not listed in Section 6.1 of the Plan
       and/or TABLE 1 will be REJECTED under the Plan. Consult your adviser or attorney for
       more specific information about particular contracts or leases. If you object to the rejection of
       your contract or lease, you must file and serve your objection to the Plan within the deadline for
       objecting to the confirmation of the Plan. The Debtor may amend TABLE 1 through and until


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         the Confirmation Hearing with respect to contracts and/or leases to be assumed and/or
         rejected.

8. TAX CONSEQUENCES OF THE PLAN.

       CREDITORS AND EQUITY INTEREST HOLDERS CONCERNED WITH HOW THE
       PLAN MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN
       ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS.

9. CONFIRMATION REQUIREMENTS AND PROCEDURES.

9.1.     Requirements of confirmation. To be confirmable, the Plan must meet the requirements listed
         in Code §§1129(a) or (b). These include the requirements that: (1) the Plan must be proposed in
         good faith; (2) at least one impaired class of claims must accept the plan, without counting votes
         of insiders; (3) the Plan must distribute to each creditor and equity interest holder at least as much
         as the creditor or equity interest holder would receive in a Chapter 7 liquidation case, unless the
         creditor or equity interest holder votes to accept the Plan; and, (4) the Plan must be feasible.
         These requirements are not the only requirements listed in Code §1129, and they are not the only
         requirements for confirmation.

9.2.     Who may object to confirmation. Any party in interest may object to the confirmation of the
         Plan if the party believes that the requirements for confirmation are not met. Many parties in
         interest, however, are not entitled to vote to accept or reject the Plan. A creditor or equity interest
         holder has a right to vote for or against the Plan only if that creditor or equity interest holder has a
         claim or equity interest that is both (1) allowed or allowed for voting purposes and (2) impaired.
         Even if you are not entitled to vote on the plan (as discussed below), you have a right to object
         to the confirmation of the Plan and to the adequacy of the Disclosure Statement.

9.3.     Classes entitled to vote. In this case, the Debtor believes that classes of claims in the Impaired
         Classes (as described in TABLE 1) are impaired and that holders of claims in each of these
         classes are therefore entitled to vote to accept or reject the Plan.

9.4.     What Is an Allowed Claim or an Allowed Equity Interest? Only a creditor or equity interest
         holder with an allowed claim or an allowed equity interest has the right to vote on the Plan.
         Generally, a claim or equity interest is allowed if either (1) the Debtor has scheduled the claim on
         ma^ @^[mhkzl l\a^]ne^l* nge^ll ma^ \eZbf aZl [^^g l\a^]ne^] Zl ]blinm^]* \hgmbg`^gm* hk
         unliquidated, or (2) the creditor has filed a proof of claim or equity interest, unless an objection
         has been filed to such proof of claim or equity interest. When a claim or equity interest is not
         allowed, the creditor or equity interest holder holding the claim or equity interest cannot vote
         unless the Court, after notice and hearing, either overrules the objection or allows the claim or
         equity interest for voting purposes pursuant to Bankruptcy Rule 3018(a). The deadline for filing
         a proof of claim for non-governmental entity creditors in this case was June 19, 2021.

9.5.     What Is an Impaired Claim or Impaired Equity Interest? As noted above, the holder of an
         allowed claim or equity interest has the right to vote only if it is in a class that is impaired under
         the Plan. As provided in Code §1124, a class is considered impaired if the Plan alters the legal,
         equitable, or contractual rights of the members of that class.

9.6.     Who is Not Entitled to Vote? The holders of the following five types of claims and equity
         interests are not entitled to vote: (i) holders of claims and equity interests that have been
         disallowed by an order of the Court; (ii) holders of other claims or equity interests that are not


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        xZeehp^] \eZbfly hk xZeehp^] ^jnbmr bgm^k^lmly (Zl ]bl\nll^] Z[ho^)* nge^ll ma^r aZo^ [^^g
        xZeehp^]y _hk ohmbg` inkihl^l; (iii) holders of claims or equity interests in unimpaired classes;
        (iv) holders of claims entitled to priority pursuant to Code §§507(a)(2), (a)(3), and/or (a)(8);
        (v) holders of claims or equity interests in classes that do not receive or retain any value under the
        Plan; and/or (vi) holders of administrative expenses.

9.7.    Who Can Vote in More Than One Class? A creditor whose claim has been allowed in part as a
        secured claim and in part as an unsecured claim, or who otherwise hold claims in multiple
        classes, is entitled to accept or reject a Plan in each capacity, and should cast one ballot for each
        claim.

9.8.    Votes Necessary to Confirm the Plan. If impaired classes exist, the Court cannot confirm the
        Plan unless (1) at least one impaired class of creditors has accepted the Plan without counting the
        votes of any insiders within that class, and (2) all impaired classes have voted to accept the Plan,
        unless the Plan is eligible to be confirmed by cram down on non-accepting classes, as discussed
        below.

9.9.    Votes Necessary for a Class to Accept the Plan. A class of claims accepts the Plan if both of
        the following occur: (1) the holders of more than one-half (1/2) of the allowed claims in the class,
        who vote, cast their votes to accept the Plan, and (2) the holders of at least two-thirds (2/3) in
        dollar amount of the allowed claims in the class, who vote, cast their votes to accept the Plan. A
        class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in amount of the
        allowed equity interests in the class, who vote, cast their votes to accept the Plan.

9.10.   Treatment of Nonaccepting Classes. Even if one or more impaired classes rejects the Plan, the
        Court may nonetheless confirm the Plan if the nonaccepting classes are treated in the manner
        prescribed by Code §1129(b). A plan that binds nonaccepting classes is commonly referred to as
        a cram down plan. The Code allows the Plan to bind nonaccepting classes of claims or equity
        interests if it meets all the requirements for consensual confirmation except the voting
        requirements of Code §1129(a)(8), does not discriminate unfairly, and is fair and equitable
        toward each impaired class that has not voted to accept the Plan.

9.11.   YOU SHOULD CONSULT YOUR OWN ATTORNEY IF A CRAM DOWN CONFIRMATION
        WILL AFFECT YOUR CLAIM OR EQUITY INTEREST, AS THE VARIATIONS ON THIS
        GENERAL RULE ARE NUMEROUS AND COMPLEX.

9.12.   Liquidation analysis. To confirm the Plan, the Court must find that all creditors and equity
        interest holders who do not accept the Plan will receive at least as much under the Plan as such
        claim and equity interest holders would receive in a Chapter 7 liquidation. A liquidation analysis
        is attached to this Disclosure Statement as Exhibit PDGP303.

9.13.   Feasibility. The Court must find that confirmation of the Plan is not likely to be followed by the
        liquidation, or the need for further financial reorganization, of the Debtor or any successor to the
        Debtor, unless such liquidation or reorganization is proposed in the Plan.

9.14.   Ability to Initially Fund Plan. The Debtor believes that the Debtor will have enough cash on
        hand on the Effective Date of the Plan to pay all the claims and expenses that are entitled to be
        paid on that date. One or more tables showing the amount of cash on hand on the effective date
        of the Plan, and the sources of that cash are attached to this Disclosure Statement.




FIRST AMENDED DISCLOSURE STATEMENT IN SUPPORT OF FIRST AMENDED PLAN OF
REORGANIZATION OF PDG PRESTIGE INC. DATED January 17, 2022 — Page 9                               2076746.DOCX[1]
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9.15.   Ability to Make Future Plan Payments and Operate Without Further Reorganization. The
        Debtor must also show that it will have enough cash over the life of the Plan to make the required
        Plan payments.

9.16.   Projections.

        9.16.1.      The Debtor has provided projected financial information. Those projections are listed
                     in Exhibit PDGP304. The Debtor may provide amended and/or expanded
                     projections prior to or at the Confirmation Hearing. Pa^ @^[mhkzl _bgZg\bZe
                     projections show that the Debtor will fully satisfy all Allowed Claims in full. The
                     Debtor may amend and/or supplement the projections prior to the Confirmation
                     Hearing. You should consult with your accountant or other financial advisor if
                     you have any questions pertaining to these projections.

        9.16.2.      THE PROJECTED FINANCIAL INFORMATION AND OTHER FORWARD
                     LOOKING STATEMENTS CONTAINED IN THIS DISCLOSURE
                     STATEMENT ARE BASED ON VARIOUS ASSUMPTIONS AND
                     ESTIMATES AND WILL NOT BE UPDATED TO REFLECT EVENTS
                     OCCURRING AFTER THE DATE HEREOF. SUCH INFORMATION AND
                     STATEMENTS ARE SUBJECT TO INHERENT UNCERTAINTIES AND TO
                     A WIDE VARIETY OF SIGNIFICANT BUSINESS, ECONOMIC, AND
                     COMPETITIVE RISKS INCLUDING, AMONG OTHERS, THOSE
                     DESCRIBED   HEREIN.   CONSEQUENTLY,     ACTUAL   EVENTS,
                     CIRCUMSTANCES,   EFFECTS    AND   RESULTS    MAY   VARY
                     SIGNIFICANTLY FROM THOSE INCLUDED IN OR CONTEMPLATED BY
                     SUCH PROJECTED FINANCIAL INFORMATION AND SUCH OTHER
                     FORWARD-LOOKING STATEMENTS.

10. EFFECT OF CONFIRMATION OF PLAN — DISCHARGE

On the Effective Date of the Plan, the Debtor shall be discharged from any debt that arose before
confirmation of the Plan, subject to the occurrence of the effective date, to the extent specified in Code
§1141(d)(1)(A), except that the Debtor shall not be discharged of any debt (i) imposed by the Plan, (ii) of
a kind specified in §1141(d)(6)(A) if a timely complaint was filed in accordance with Bankruptcy Rule
4007(c), or (iii) of a kind specified in Code §1141(d)(6)(B). After the effective date of the Plan, your
claims against the Debtor will be limited to the debts described in clauses (i) through (iii) of the preceding
sentence.

11. MODIFICATION OF THE PLAN

The Debtor may modify the Plan at any time before confirmation of the Plan. However, the Court may
require a new disclosure statement and/or revoting on the Plan. The Debtor may also seek to modify the
Plan at any time after confirmation only if (1) the Plan has not been substantially consummated and
(2)•the Court authorizes the proposed modifications after notice and a hearing.

12. FINAL DECREE

Once the estate has been fully administered, as provided in Bankruptcy Rule 3022, the Debtor, or such
other party as the Court shall designate in the Plan Confirmation Order, and shall file a motion with the
Court to obtain a final decree to close the case. Alternatively, the Court may enter such a final decree on
its own motion.


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                                          PDG PRESTIGE, INC.,
                                          DEBTOR AND DEBTOR-IN-POSSESSION


                                          /s/ Michael Dixson
                                          By: Michael Dixson, President

Jeff Carruth (SBT #24001846)
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
3030 Matlock Rd., Suite 201
Arlington, TX 76015
(713) 341-1158, fax (866) 666-5322
 jcarruth@wkpz.com
ATTORNEYS FOR PDG PRESTIGE INC.
DEBTOR AND DEBTOR IN POSSESSION




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                                          EXHIBIT PDGP301

Filing Date    #         Docket Text

02/15/2021    1          Voluntary Petition under Chapter 11 (Non-Individual) Without Schedules, Without
              (6 pgs)    Statement of Financial Affairs, With Attorney Disclosure of Compensation ( Filing Fee: $
                         1738, ) Filed By PDG Prestige, Inc.. -Declaration for Electronic Filing due by 02/22/2021
                         (Carruth, Jeff)

02/18/2021    3          341 Meeting of Creditors Set For 3/18/2021 at 09:00 AM at Via Phone: (866)909-2905;
              (2 pgs)    Code: 5519921#- Proofs of Claim Due 6/16/2021 (Resendez, Laura)

03/11/2021    13         20 Largest Unsecured Creditors List filed by Jeff Carruth for Debtor PDG Prestige, Inc..
              (1 pg)     (Carruth, Jeff)

03/11/2021    14         Schedules, Statements, and Summary filed by Jeff Carruth for Debtor PDG Prestige, Inc.. -
              (24 pgs)   Declaration for Electronic Filing due by 03/18/2021 (Carruth, Jeff)

03/19/2021    19         US Trustee 341 Meeting of Creditors Held (Rose, James)
              (1 pg)

03/19/2021    20         Notice of Creditors' Committee (No Appointment) (Rose, James)
              (3 pgs)

03/26/2021    24         Motion to Obtain Credit Under Section 364(b), Rule 4001(c) or (d) filed by Jeff Carruth
              (47 pgs;   for Debtor PDG Prestige, Inc. (Attachments: # 1 Proposed Order)(Carruth, Jeff)
              2 docs)

04/12/2021               Hearing Held: GRANTED AS STATED ON THE RECORD; ORDER TO COME BY:
                         JEFF CARRUTH. (Related Document(s): 24 Motion to Obtain Credit Under Section
                         364(b), Rule 4001(c) or (d) filed by Jeff Carruth for Debtor PDG Prestige, Inc.
                         (Attachments: # 1 Proposed Order)) Order due by 4/26/2021 (Resendez, Laura)

04/12/2021    43         Order Regarding (related document(s): 24 Motion to Obtain Credit Under Section 364(b),
              (10 pgs)   Rule 4001(c) or (d) filed by Jeff Carruth for Debtor PDG Prestige, Inc. (Attachments: # 1
                         Proposed Order)) (Order entered on 4/12/2021) (McGee, Maxine)

04/16/2021    47         Order Granting Motion To Employ (Weycer, Kaplan, Pulaski, & Zuber, P.C.) (related
              (2 pgs)    document(s): 16 Application to Employ (21 Day Objection Language) filed by Jeff Carruth
                         for Debtor PDG Prestige, Inc. (Attachments: # 1 Proposed Order)) (Order entered on
                         4/16/2021) (McGee, Maxine)

04/21/2021    50         Adversary case 21-03007. Notice of Removal - Dennis Crimmins against Michael J
              (98 pgs;   Dixson, PDG, Inc., PDG Prestige, Inc. ( Filing Fee: $ 350.00 ) (Nature(s) of Suit:(62
              9 docs)    (Dischargeability - 523(a)(2), false pretenses, false representation, actual fraud))).
                         (Attachments: # 1 Exhibit A - Plaintiff's First Amended Complaint # 2 Appendix Case
                         Detail - Docket # 3 Appendix Order Denying Expedited Motion to Cancel Lis Pendens
                         # 4 Appendix Defendants' Answer to First Amended Complaint # 5 Appendix Defendants'
                         Motion for Summary Judgment # 6 Appendix Plaintiffs' Memorandum in Opposition to
                         MSJ # 7 Appendix Defendants' Reply in Support of MSJ # 8 Adversary Coversheet)
                         (Feuille, James)

05/05/2021    51         Interim Application for Compensation (21 Day Objection Language), Fees $ 27839.00,
              (39 pgs;   Expenses $ 183.49, For Time Period From Feb. 15 2021 To Time Period Ending April 25,
              2 docs)    2021 filed by Jeff Carruth for Debtor PDG Prestige, Inc. (Attachments: # 1 Proposed



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Filing Date    #         Docket Text

                         Order)(Carruth, Jeff)

05/28/2021    56
              (2 pgs)
                         Order Granting (related document(s): 51         First Interim Application for Compensation
                         Fees $ 27839.00, Expenses $ 183.49, For Time Period From Feb. 15, 2021 To Time Period
                         Ending April 25, 2021 filed by Jeff Carruth for Debtor PDG Prestige, Inc. (Order entered
                         on 5/28/2021) (Hardage, Bridget)

07/12/2021    59         Notice of Closing of Financing Transaction Between PDG Prestige, Inc. and Legalist (Re:
              (2 pgs)    Docket Nos. 24, 43) filed by Jeff Carruth for Debtor PDG Prestige, Inc.. (Carruth, Jeff)
                         (Related Document(s): 24 Motion to Obtain Credit Under Section 364(b), Rule 4001(c) or
                         (d) filed by Jeff Carruth for Debtor PDG Prestige, Inc. (Attachments: # 1 Proposed
                         Order), 43 Order Regarding (related document(s): 24 Motion to Obtain Credit Under
                         Section 364(b), Rule 4001(c) or (d) filed by Jeff Carruth for Debtor PDG Prestige, Inc.
                         (Attachments: # 1 Proposed Order)) (Order entered on 4/12/2021))

07/19/2021    60         NOTICE REGARDING PLAN AND DISCLOSURE STATEMENT IN CASE NO. 20-
              (3 pgs)    30071 filed by Jeff Carruth for Debtor PDG Prestige, Inc.. (Carruth, Jeff)

10/20/2021    90         Chapter 11 Monthly Operating Report for the Month Ending: 09/30/2021 filed by Jeff
              (23 pgs;   Carruth for Debtor PDG Prestige, Inc.. (Attachments: # 1 Appendix MOR
              2 docs)    Attachments)(Carruth, Jeff)

10/22/2021    91         Second Interim Fee Application for Compensation (21 Day Objection Language), Fees $
              (32 pgs;   15762.00, Expenses $ 262.50, For Time Period From 04/26/2021 To Time Period Ending
              2 docs)    09/25/2021 filed by Jeff Carruth for Debtor PDG Prestige, Inc. (Attachments: # 1 Proposed
                         Order)(Carruth, Jeff)




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